
241 P.3d 308 (2010)
237 Or. App. 565
In the Matter of G.F., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
G.F., Appellant.
09MH0003SF; A141218.
Court of Appeals of Oregon.
Submitted August 6, 2010.
Decided September 29, 2010.
Janie M. Burcart filed the brief for appellant.
John R. Kroger, Attorney General, David B. Thompson, Interim Solicitor General, and Carolyn Alexander, Senior Assistant Attorney General, filed the brief for respondent.
Before LANDAU, Presiding Judge, and ORTEGA, Judge, and SERCOMBE, Judge.
PER CURIAM.
The trial court entered an order of civil commitment on the ground that appellant suffers from a mental disorder that causes her to be a danger to herself. ORS 426.005(1). On appeal, she contends that the trial court erred because, among other things, the evidence was legally insufficient to show that her mental disorder causes her to be a danger to herself. The state concedes that the record does not provide clear and convincing evidence to support the trial court's order. We accept the concession.
